Case 1:05-cr-10021-.]DT Document 24 Filed 06/13/05 Page 1 of 3 Page|D 23

PS 8

United States District Court /9

for
Western District of Tennessee

 

jj :.r .`~ § "` 1
“' ,;,\<~/<\ 49 /§;g;> fr-

r.`
1
/\

U.S.A. vs. David Franklin Pruiett, Jr. Docket No. / %1-01 ':;~3(,
. . - ’ ' . .)
./ / "
Petition for Action on Conditions of Pretrial Release (¥@7’-0"9" 90
t_;/)\,/’\

\,"»‘

COMES NOW Carolyn W. Moore PRETRIAL SERVICES OFFICER presenting an official report upon the
conduct of defendant who was placed under pretrial release supervision by the Honorable S. Thomas Anderson
sitting in the court at Jackson, Tennessee, on the Sth day of March, 192005 under the following conditions:

l. Report to Pretrial Services as directed.

2. Maintain or actively seek employment.

3. Defendant is restricted in travel and residence to the Western District of Tennessee.
4. Refrain from possessing a firearm, destructive device or other dangerous weapon.

RESPECTFULLY PRESENTING PET]TEON FOR ACT|ON OF COURT AND FOR CAUSE AS FOLLOWS:
(If short insert here: if lengthy write on separate sheet and attach)

David Pruiett has not reported to the U. S. Pretrial Office as instructed, and his whereabouts are currently
unknown. Additionally, the defendant was charged with the new criminal offense of Theft Over $500 on 04-1'."-
05. A capias was issued by Jackson City Court after the defendant failed to appear for his preliminary hearing on
05-23-05.

PRAYING THAT TPHE COURT WILL ORDER the issuance of a warrant for the arrest of David Franklin
Pruiett, Jr. so that he can be brought before this Court to show cause as to why his bond shouid not be revoked
It is recommended that no bond be authorized on this warrant

ORDER OF COURT

W\ /Jpe®my,
Consider nd ordered this 2 d f w /O//)
day of , 20 and ordered \ q/l "“ 0 U'L'L

files and de a part of the records in the above

UW Pretria| Services Oft'icer-In-Charge
CHSC.

(>/’!A,A/\M z ' M Plaee /)iu_¢,@¢,,q 7/\/

.S.District.ludge/Magistrate Date U/!' /? /0¢>-'-~
l l

Thls document entered on the dockets fn compllance
with Hule 55 andlor 32(b) FRCrP on / \

Case 1:05-cr-10021-.]DT Document 24 Filed 06/13/05 Page 2 of 3 Page|D 24

§AO 442 (Rev_ |O/U]) Warram forArrest

UNITED STATES DISTRICT COURT

WESTERN Digtrjct gf TENNESSEE

UNITED STATES OF AMER]CA

 

WARRANT FOR ARREST
V. , -
DAV|D FF'lANKL[N PF{UIETT, JFi. Case Number: 05~10021-01
To: The United States Marshal
and any Authorized United States Oft`icer
You ARi~: HEREBY COMMANDED 10 arrest David Frank'in Pruiett Jf\
Name

and bring him or her forthwith to the nearest magistratejudge to answer a(n)

. . . - ' l . 4
[:] Indtctment |:]Informatlon [:\ Complaint [:| Orderof E(Pre Trla [] Supervised Re|ease ij \#'lolarion

court Violation Violation Petition Notice
; ' P€tl'int'l

charging him or her with (brief description of offense)

in violation of Title United States Code, Section(s) l '

aean a Di none C,~ M

 

 

 

Name of [ssuing Off'lcer Signature of Issuirig Ot`i'icer,

CLEFiK OF COURT 6/13/2005 JaCkSOn, TN

Tit|e of issuing Ofticer Date Location
RETURN

 

This warrant was received and executed with the arrest of the above-named defendant at

 

DATE RECEIVED NAME AND TlTLE OF ARRESTING OFFlCER SIGNATURE OF ARRESTING OFF|CER

 

 

DATE OF ARREST

 

 

 

 

Case 1:05-cr-10021-.]DT Document 24 Filed 06/13/05 Page 3 of 3 Page|D 25

AO 442 (Rev‘ 10/03) Warrant for Arrcst

THE FOLLOWING IS FURNISHED FOR INFORMATION ONLY:

DEFEN[)ANT’S NAME; Davic| Frank|in Pruiett, Jr.

ALIAS:

 

LA ST KNOWN RESIDENCE:

 

LAST KNOWN EMPLOYMENT:

 

PLACE OF BIRTH:

 

DATE OF BIRTH:

 

SOCIAL SECURITY NUMBER:

 

 

 

 

 

HEIGHT: WEIGHT:
SEX: RACE:
l-lAIR: EYES:

 

 

SCARS, TATTOOS, OTHER DISTINGUISHING MARKS:

FBI NUMBER:

 

COl\/[PLETE DESCRIPTION OF AUTO:

lNVESTlGATl\/E AGENCY AND ADDRESS.'

